                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI


 THERESA HILL,

                  Plaintiff,

 v.                                                 Case No.: 4:18-cv-00560-RK

 LEXISNEXIS RISK SOLUTIONS
 BUREAU LLC,

                  Defendant.

        MOTION TO WITHDRAW OF AMY L. WELLS AS COUNSEL OF RECORD

         Amy L. Wells hereby respectfully requests that this Court withdraw her appearance as

counsel for Plaintiff. In support of this motion, the undersigned states:

         1.      Ms. Wells will no longer be practicing at Keogh Law, Ltd., the firm representing

the plaintiff in this matter.

         2.      Keith J. Keogh, A.J. Stecklein, Michael H. Rapp, and Matthew Robertson will

remain as counsel for the plaintiff.

         WHEREFORE, Amy L. Wells moves the Court for leave to withdraw her appearance as

counsel in this matter.

                                                      Respectfully submitted,
                                                      s/ Matthew Robertson
                                                      A.J. Stecklein #46663
                                                      Michael H. Rapp #66688
                                                      Matthew Robertson #70442
                                                      Stecklein & Rapp Chartered
                                                      748 Ann Avenue
                                                      Kansas City, Kansas 66101
                                                      Telephone: (913) 371-0727
                                                      Facsimile: (913) 371-0147
                                                      Email: aj@kcconsumerlawyer.com
                                                              mr@kcconsumerlayer.com

88982                                     1
              Case 4:18-cv-00560-RK Document 85 Filed 12/30/19 Page 1 of 2
                                                    By: /s/ Amy L. Wells
                                                    Amy L. Wells- pro hac vice
                                                    Keith J. Keogh-pro hac vice
                                                    Keogh Law, Ltd.
                                                    55 W. Monroe Street, Suite 3390
                                                    Chicago, IL 60603
                                                    Telephone: (312) 726-1092
                                                    Facsimile: (312) 726-1093
                                                    Email: keith@keoghlaw.com
                                                            awells@keoghlaw.com



                                                    Attorneys for Plaintiff




                                  CERTIFICATE OF FILING

    The undersigned certifies that the foregoing document was electronically filed with the Clerk
    of the Court's ECF/CM System on December 30, 2019, which will automatically generate
    notice of filing to all counsel of record.




                                                   /s/ Matthew S. Robertson
                                                     Attorney for Plaintiff




88982                                  2
           Case 4:18-cv-00560-RK Document 85 Filed 12/30/19 Page 2 of 2
